           Case 2:19-cv-00644-RAJ Document 213 Filed 03/12/21 Page 1 of 4




 1                                                                 The Honorable Richard A. Jones
 2

 3

 4

 5

 6

 7
                            UNITED STATES DISTRICT COURT
 8                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9
      TELECOMMUNICATION SYSTEMS, INC.,                  CONSOLIDATED UNDER:
10
                                                        NO. 2:19-CV-00644-RAJ
11           Plaintiff,

12           v.                                         NO.     2:19-CV-00336-RAJ
                                                        NO.     2:19-CV-00644-RAJ
13    LYNNE HOUSERMAN and MOTOROLA
      SOLUTIONS, INC.,
14
                                                        NOTICE OF INTENT TO REQUEST
15           Defendants.                                REDACTION

16
      LYNNE HOUSERMAN,
17

18
             Plaintiff,

19           v.

20    COMTECH TELECOMMUNICATIONS
      CORPORATION, FRED KORNBERG, AND
21    MICHAEL D. PORCELAIN,
22
             Defendants.
23

24         Pursuant to Sections 4 and 5 of the United Stated District Court for the Western District

25   of Washington’s Amended General Order No. 15-15, TeleCommunication Systems, Inc.

26   (“TCS”), Comtech Telecommunications Corp. (“Comtech”), Fred Kornberg, and Michael D.

27
                                                                       SAVITT BRUCE & WILLEY LLP
     NOTICE OF INTENT TO REQUEST REDACTION - 1
                                                                       1425 Fourth Avenue Suite 800
     No. 2:19-CV-00644-RAJ
                                                                      Seattle, Washington 98101-2272
                                                                               (206) 749-0500
            Case 2:19-cv-00644-RAJ Document 213 Filed 03/12/21 Page 2 of 4




 1   Porcelain (collectively, the “Comtech Parties”), by and through their undersigned counsel,

 2   hereby give notice of intent to request redaction of information from the following transcripts:

 3          1.      The March 8, 2021 Motion Hearing regarding the Comtech Parties’ request to

 4   continue the trial date (see Dkt. 191); and

 5          2.      The March 9, 2021 Motion Hearing on the same subject (Dkt. 209).

 6          The Court previously granted “[l]eave to redact to portions of the hearing record that

 7   relate to disclosure of Mr. Kornberg’s medical records or history” (sic) (Dkt. 212), and, per

 8   instructions from the Court, the Comtech Parties intend to work with counsel for Lynne

 9   Houserman and Motorola Solutions, Inc. to file a stipulated or unopposed motion to request

10   redaction of portions of the record that fit this category, with a copy served on the court

11   reporter within 21 days from filing of this Notice.

12          //

13          //

14          //

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                                           SAVITT BRUCE & WILLEY LLP
     NOTICE OF INTENT TO REQUEST REDACTION - 2
                                                                           1425 Fourth Avenue Suite 800
     No. 2:19-CV-00644-RAJ
                                                                          Seattle, Washington 98101-2272
                                                                                   (206) 749-0500
           Case 2:19-cv-00644-RAJ Document 213 Filed 03/12/21 Page 3 of 4




 1         DATED: March 12, 2021.
 2
                                     SAVITT BRUCE & WILLEY LLP
 3

 4
                                     By      s/James P. Savitt
                                          James P. Savitt, WSBA #16847
 5                                        Michele L. Stephen, WSBA #39458
                                          1425 Fourth Avenue Suite 800
 6                                        Seattle, Washington 98101-2272
                                          Telephone: (206) 749-0500
 7
                                          Facsimile: (206)749-0600
 8                                        Email: jsavitt@sbwLLP.com
                                          Email: mstephen@sbwLLP.com
 9
                                     PAUL, WEISS, RIFKIND, WHARTON
10                                   & GARRISON LLP
11
                                     By      s/Harris Fischman
12                                        Harris Fischman (admitted pro hac vice)
                                          Alyson A. Cohen (admitted pro hac vice)
13                                        David Fish (admitted pro hac vice)
                                          Leah J. Park (admitted pro hac vice)
14                                        Megan L. Gao (admitted pro hac vice)
                                          Charles P. Sucher (admitted pro hac vice)
15
                                          1285 Avenue of the Americas
16                                        New York, New York 10019
                                          Telephone: (212) 373-3000
17                                        Facsimile: (212) 757-3990
                                          Email: hfischman@paulweiss.com
18                                               acohen@paulweiss.com
19
                                                 dfish@paulweiss.com
                                                 lpark@paulweiss.com
20                                               mgao@paulweiss.com
                                                 csucher@paulweiss.com
21
                                          Martha L. Goodman (admitted pro hac vice)
22
                                          2001 K Street, NW
23                                        Washington, DC 20006-1047
                                          Telephone: (202) 223-7341
24                                        Facsimilie: (202) 330-5921
                                          Email: mgoodman@paulweiss.com
25
                                     Attorneys for TeleCommunication Systems, Inc.,
26
                                     Comtech Telecommunications Corp., Fred
27                                   Kornberg, and Michael D. Porcelain

                                                                   SAVITT BRUCE & WILLEY LLP
     NOTICE OF INTENT TO REQUEST REDACTION - 3
                                                                   1425 Fourth Avenue Suite 800
     No. 2:19-CV-00644-RAJ
                                                                  Seattle, Washington 98101-2272
                                                                           (206) 749-0500
             Case 2:19-cv-00644-RAJ Document 213 Filed 03/12/21 Page 4 of 4




 1                                    CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that, on March 12, 2021, I electronically filed the

 3   foregoing document with the Clerk of the Court using the CM/ECF system which will send

 4   notification of such filing to all counsel of record.

 5          I declare under penalty of perjury under the laws of the United States of America that

 6   the foregoing is true and correct.

 7          EXECUTED this 12th day of March, 2021 at Seattle, Washington.

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

     CERTIFICATE OF SERVICE                                              SAVITT BRUCE & WILLEY LLP
     No. 2:19-CV-00644-RAJ                                               1425 Fourth Avenue Suite 800
                                                                        Seattle, Washington 98101-2272
                                                                                 (206) 749-0500
